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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division



  MARRIOTT INTERNATIONAL, INC.,

        Plaintiff,

  v.                                              Civil Action No. 1:21-cv-00610-AJT/JFA

  DYNASTY MARKETING GROUP, LLC,
  et al.,

        Defendants.



                     JOINT MOTION FOR ENTRY OF CONSENT ORDER
       Plaintiff Marriott International, Inc. (“Marriott”) and Defendant Rapid Eagle, Inc. d/b/a

VoIP Essential (“VoIP Essential”) (collectively, “Parties”), by counsel, hereby jointly move this

Court to enter a Consent Order pursuant to a stipulation reached by the Parties.

       1.      Marriott filed its First Amended Complaint on May 17, 2022, naming, inter alia,

Defendant VoIP Essential. See Dkt. No. 22.

       2.      Based on good faith negotiations, the Parties have agreed to the terms of the

proposed Consent Order attached hereto as Exhibit A, for entry by the Court.

       3.      Upon entry of the proposed Order, all pending claims asserted against VoIP

Essential in this action will be dismissed with prejudice.

       WHEREFORE, Plaintiff Marriott and Defendant VoIP Essential respectfully request that

this Court grant the Joint Motion for Entry of Consent Order.




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Dated: October 5, 2022              MARRIOTT INTERNATIONAL, INC.
                                    By counsel


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                                  RAPID EAGLE, INC. d/b/a VoIP
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                                  By counsel


                                    __/s/ Joseph P. Bowser_________________
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